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                                                                P.O.S
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                               RIDER TO THE CITATION TO DISCOVER ASSETS
                                   SERVED ON THE JUDGMENT DEBTOR
                                   IN UNITED STATES V. ASIF A ASLAM
                                          CASE NO. 14 CR 287-4

       Produce all documents and things in your possession or control concerning the following list of
       items:

1.    Statements of account for the last 3 years, and bankbooks, passbooks, or checkbooks for any type of
      financial account in which you, the judgment debtor, have any interest and is maintained by or for you
      in a bank, savings and loan, securities firm, brokerage firm, or any other financial institution.
2.    Your state and federal income tax returns for the last 3 years.

3.    Applications for loans or credits.

4.    Applications for insurance for real or personal property.

5.    Financial statements, both audited and unaudited, for the last 3 years.

6.    General ledger and/or accounting records for the last 3 years.

7.    Any listing of accounts receivable, including loans or debts payable to you.

8.    Any listing of real or personal property.

9.    Safety deposit boxes.

10.   Stock certificates, bonds, certificates of deposit and any other security instrument.

11.   Promissory notes or any other records of money due you.

12.   Titles to motor vehicles, boats or any other titled personal property.

13.   Titles to real estate.

14.   Beneficial interests in trusts.

15.   Interests in partnerships.

16.   Pay checks or pay stubs for the last 12 months.

17.   Any interest in a pension, retirement, deferred compensation or profit-sharing fund.

18.   Any life insurance policy in which you are the policy’s insured or beneficiary.

19.   Any document identified in paragraphs 1 through 18 for any business (i.e., sole proprietorship, LLP,
      LLC, partnership, or corporation) in which you or your spouse is an owner, member, general partner,
      or majority shareholder.

20.   Any other documents which may contain information concerning your property, income, or
      indebtedness due you.
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